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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

UNITED STATES OF AMERICA                         *

       v.                                        *                  CRIM. NO. JKB-14-0479

TIMOTHY HURTT,                                   *

       Defendant                                 *

        *      *      *       *       *      *       *      *       *       *       *      *

                                  MEMORANDUM ORDER

       The Defendant Timothy Hurtt was sentenced to a period of 324 months’ imprisonment

after being found guilty of participating in a racketeering conspiracy, conspiracy to distribute a

controlled substance, and conspiracy to use and carry a firearm during and in relation to a crime

of violence and drug trafficking crime. (Judgment at 1–3, ECF No. 673.) Hurtt is currently

incarcerated at USP Atwater. He has now filed a Motion for Compassionate Release (ECF No.

990) in light of the COVID-19 Pandemic Crisis. See In re: Court Operations Under the Exigent

Circumstances Created by COVID-19, Case 1:00-mc-00308, Standing Order 2020-05 (D. Md.

Mar. 20, 2020.) No hearing is necessary. See Local Rules 105.6, 207 (D. Md. 2018). For the

reasons set forth below, the Motion will be DENIED.

       Pursuant to 18 U.S.C. § 3582(c)(1)(A), a district court may modify a convicted defendant’s

sentence when “extraordinary and compelling reasons warrant such a reduction.” A defendant

may only move for compassionate release under § 3582(c)(1)(A) after he or she “has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf or [after] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” Hurtt states that he submitted a request


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for compassionate release to his warden and did not receive a response within 30 days. Though

Hurtt submits no evidence that he indeed made this request, and this statement was not made under

the penalty of perjury, the Court will assume without deciding that his motion is procedurally ripe.

Therefore, the question facing the Court is whether Hurtt has provided evidence establishing the

existence of “extraordinary and compelling” reasons for his release.

       Under 28 U.S.C. § 994(t), the United States Sentencing Commission “shall describe what

should be considered extraordinary and compelling reasons for sentence reduction, including the

criteria to be applied and a list of specific examples.”        The Commission has stated that

“extraordinary and compelling reasons” exist where: 1) a defendant has a terminal or serious

medical condition; 2) a defendant with deteriorating health is at least 65 years old and has served

ten years or 75% of his term of imprisonment; 3) certain family circumstances arise in which a

defendant must serve as a caregiver for minor children or a partner; or 4) the Bureau of Prisons

(“BOP”) determines other circumstances create “extraordinary and compelling reasons” for

sentence reduction. See U.S.S.G. § 1B1.13 cmt. n.1(A)–(D).

       This mandate and policy statement, however, predate the passage of the First Step Act of

2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018), “which was enacted to further increase the use

of compassionate release and which explicitly allows courts to grant such motions even when

B[O]P finds they are not appropriate.” United States v. Beck, 425 F. Supp. 3d 573, 579 (M.D.N.C.

2019). This Court and many others have determined that under the First Step Act, “BOP is no

longer the exclusive arbiter of what constitutes other ‘extraordinary and compelling reasons,’” and

that courts may now “independently determine what constitutes other ‘extraordinary and

compelling reasons’ for compassionate release[.]” United States v. Richardson, Crim. No. JKB-

09-0288, 2020 WL 3267989, at *2 (D. Md. June 17, 2020). This Court likewise has held that




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“medical conditions which make a defendant uniquely susceptible to complications from COVID-

19 create ‘extraordinary and compelling reasons’ to grant compassionate release pursuant to §

3582(c)(1)(A).” Id. See also, United States v. Lewin, Crim. No. SAG-15-198, 2020 WL 3469516,

at *3 (D. Md. June 25, 2020) (A defendant can establish his entitlement to compassionate release

by demonstrating that he “(1) has a condition that compellingly elevates his risk of becoming

seriously ill, or dying, from COVID-19, and (2) is more likely to contract COVID-19 in his

particular institution than if released.”).

        Hurtt has failed to provide evidence establishing that he has a medical condition rendering

him uniquely susceptible to COVID-19. Hurtt states that he has asthma, which the Centers for

Disease Control have said “might” increase an individual’s risk for “severe illness from COVID-

19.”1 However, Hurtt has failed to provide medical records documenting the existence or severity

of his condition. Absent such records, the Court is in no position to determine whether this

preexisting condition actually “compellingly elevates [Hurtt’s] risk of becoming seriously ill, or

dying, from COVID-19.” Lewin, 2020 WL 3469516, at *3. Additionally, the Court notes that

according to the BOP website, there are currently only two confirmed active case of COVID-19 at

USP Atwater, which indicates that Hurtt is not currently at a particularly heightened risk of

contracting      COVID-19.             See    COVID-19         Cases,     Bureau      of     Prisons,

https://www.bop.gov/coronavirus/ (last accessed July 6, 2020).

        The Court acknowledges the very real danger posed by the COVID-19 pandemic and

Hurtt’s legitimate concerns about his living situation. Even absent active cases of infection at a



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   See People of Any Age with Underlying Medical Conditions, Ctrs. For Disease Control and Prevention,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-
extra-precautions%2Fgroups-at-higher-risk.html (last accessed July 6, 2020).



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given institution, the presence of the COVID-19 pandemic has required BOP to adopt procedures

which have rendered life more difficult for many incarcerated individuals. However, Hurtt’s

motion provides no basis upon which the Court can find “extraordinary and compelling reasons”

for his release. See United States v. Taylor, Crim. No. ELH-13-269, 2020 WL 3447761, at *6 (D.

Md. June 23, 2020) (“Fear of contracting the novel coronavirus while incarcerated is not sufficient

reason for granting compassionate release” absent individual special circumstances.).

       Accordingly, Hurtt’s Motion for Compassionate Release (ECF No. 990) is DENIED

without prejudice to his ability to file an updated motion attaching medical records and any

additional relevant documentation.



DATED this 6th day of July, 2020.



                                             BY THE COURT:


                                                                    /s/

                                             James K. Bredar
                                             Chief Judge




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